        2:14-cv-02258-CSB-EIL # 10           Page 1 of 2
                                                                                                  E-FILED
                                                           Tuesday, 22 September, 2015 03:53:50 PM
                                                                       Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

                                                 :
April Purcell,                                   :
                                                 :
                                                 : Civil Action No.: 2:14-cv-02258-CSB-DGB
                      Plaintiff,                 :
       v.                                        :
                                                 :
T-Mobile USA, Inc.; and DOES 1-10,               :
inclusive,                                       :
                                                 :
                      Defendants.                :

            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       April Purcell (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: September 22, 2015

                                                  Respectfully submitted,

                                                  PLAINTIFF, April Purcell

                                                  By: _/s/ Sergei Lemberg _________
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                                CERTIFICATE OF SERVICE

         I hereby certify that on September 22, 2015, a true and correct copy of the foregoing
Notice of Withdrawal was served electronically by the U.S. District Court Central District of
Illinois Electronic Document Filing System (ECF), which sent notice to the following:

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